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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------x
 UNITED STATES OF AMERICA,

          -against-
                                                                       ORDER
                                                                      05-CR-401
 Dwayne STONE, et al.,

                                 Defendants.
 ------------------------------------------------x
 GLASSER, United States Senior District Judge:

          The sentence imposed by this Court for James McTier on May 16, 2008, is hereby

 vacated, and a new sentence shall be imposed on June 3, 2008 at 3:00 p.m.


                                                                   SO ORDERED.

 Dated:         Brooklyn, New York
                May 21, 2008


                                                         ___/s/______________________

                                                         I. Leo Glasser
                                                         United States Senior District Judge




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 Copies of the foregoing order were electronically sent to:

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